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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


     ELIZABETH SINES, et al.,
                                                      CASE NO. 3:17-cv-00072
                                       Plaintiffs,

                            v.                        ORDER

     JASON KESSLER, et al.,
                                                      JUDGE NORMAN K. MOON
                                       Defendants.



         Upon notice that several of the parties are interested in pursuing mediation, pursuant to

  28 U.S.C. § 636(b)(3) and Fed. R. Civ. P. 16(a)(5), this matter is hereby REFERRED for

  mediation before United States Magistrate Judge Joel Hoppe, and for any proceedings related

  thereto that Judge Hoppe deems appropriate. Any party willing to pursue mediation is directed

  forthwith to contact Judge Hoppe’s courtroom deputy at (540) 434-3181 ext. 2.

         It is so ORDERED.

         Entered this 7th        day of June, 2021.
